                       UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION


UNITED STATES OF AMERICA                     )       DOCKET NO. 3:05CR391-W
                                             )
              vs.                            )       ORDER FOR DISMISSAL
                                             )
CHARMAINE PRICE McILWAINE                    )


       Leave of Court is hereby granted for the dismissal of the Bill of Indictment in the above-

captioned case without prejudice.

       The Clerk is directed to certify copies of this Order to the U.S. Probation Office, U.S.

Marshall Service and the United States Attorney's Office.

                                                 Signed: November 28, 2006




    Case 3:05-cr-00391-FDW-DCK             Document 73        Filed 11/29/06      Page 1 of 1
